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 5                                UNITED STATES DISTRICT COURT
 6                                       DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                     Plaintiff,              )                 Case No. 2:13-cr-029-APG-GWF
                                               )
10   vs.                                       )                 ORDER
                                               )
11   DAVID ALLAN GARRETSON, et al.,            )
                                               )
12                     Defendants.             )
     __________________________________________)
13
14            This matter comes before the Court on Defendant David Garretson’s (“Defendant”) Motion
15   to Suppress (#49), filed on April 8, 2013. The Court scheduled a hearing on the Motion (#49) for
16   May 7, 2013. See April 9, 2013 Minute Order, Doc. #52. The Court reserved determination of
17   whether the hearing will be an evidentiary hearing until after Plaintiff responded to the Motion
18   (#49). See id. Plaintiff filed its Response (#56) on April 25, 2013. Having reviewed the Motion
19   (#49) and the Response (#56), the Court will conduct an evidentiary hearing to determine whether
20   officers violated the fourth amendment by entering Defendant’s property through a side gate to gain
21   visual access to the home’s interior through a back window. The Court will not conduct an
22   evidentiary hearing as regards allegedly misleading omissions from the subsequent search warrant
23   affidavit in violation of Franks v. Delaware, 438 U.S. 154 (1978). Accordingly,
24   ...
25   ...
26   ...
27   ...
28   ...
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 1          IT IS HEREBY ORDERED that, as regards the officers’ entry onto Defendant’s property
 2   and subsequent observation inside the home through a back window, the hearing on May 7, 2013 at
 3   9:00 AM on Defendant Garretson’s Motion to Suppress (#49) shall be an evidentiary hearing.
 4          DATED this 30th day of April, 2013.
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 6                                                ______________________________________
                                                  GEORGE FOLEY, JR.
 7                                                United States Magistrate Judge
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